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                                  SUPPLEMENTAL CIVIL COVER SHEET
                        FOR CASES REMOVED FROM ANOTHER JURISDICTION

                               This form must be attached to the Civil Cover Sheet at the time
                                 the case is filed in the United States District Clerk's Office

                                            Additional sheets may be used as necessary.


1.       Style of the Case:
         Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
         Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please list the
         attorney(s) of record for each party named and include their bar number, firm name, correct mailing
         address, and phone number (including area code).

         Party                                               Party Type              Attorney(s)
        Scott Strobel; Susan Strobel; Ryan Strobel; Larry    Plaintffs               Matthew S. Long, # 022566
        Strobel; and Logan Strobel
                                                                                     Rowley Long & Simmons, PLLC
                                                                                     3707 East Southern Avenue, Ste. 1103
                                                                                     Mesa, AZ 85206
                                                                                     (480) 500- 7028



        Pinal County and the Pinal County Board of           Defendants              James M. Jellison, #012763
        Supervisors
                                                                                     Jellison Law Offices, PLLC
                                                                                     2020 North Central Avenue, Suite 670
                                                                                     Phoenix, AZ 85004
                                                                                     (602) 772-5520



        M. Lando Voyles, Paul Babeu, Shawn Wilson, Tim        Defendants
        Gaffney, Does I-XX and Black & White Corporations I-V




2.       Jury Demand:
         Was a Jury Demand made in another jurisdiction?                       Yes             No
         If "Yes," by which party and on what date?



3.       Answer:
         Was an Answer made in another jurisdiction?                     Yes              No
         If "Yes," by which party and on what date?




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4.       Served Parties:
         The following parties have been served at the time this case was removed:

         Party                                             Date Served                Method of Service
        Pinal County and the Pinal County Board of        03/09/2017                 Process Server
        Supervisors




5.       Unserved Parties:
         The following parties have not been served at the time this case was removed:

         Party                                                         Reason Not Served
        M. Lando Voyles, Paul Babeu, Shawn Wilson, Tim Gaffney, Does   unknown
        I-XX and Black & White Corporations I-V




6.       Nonsuited, Dismissed or Terminated Parties:
         Please indicate changes from the style of the papers from another jurisdiction and the reason for the
         change:

         Party                                                         Reason for Change
        M. Lando Voyles, Paul Babeu, Shawn Wilson, Tim Gaffney, Does   Plaintiff added these Defendants to the First Amended Complaint which
        I-XX and Black & White Corporations I-V                        were not in the original Complaint.




7.       Claims of the Parties:
         The filing party submits the following summary of the remaining claims of each party in this litigation:

         Party                                                         Claims
        Plaintiffs                                                     Alleges violations of his rights to 42 U.S.C. sections 1983 and 1988, the
                                                                       1st, 4th, 5th, and 14th Amendments to the U.S. Constitution.




Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in
another jurisdiction (State Court) shall be filed with this removal.


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